Case 3:20-cv-00547-MMH-MCR Document 55 Filed 06/16/22 Page 1 of 2 PageID 274




                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                          JACKSONVILLE DIVISION


    JAWANDA DOVE,

                Plaintiff,

    v.                                         Case No. 3:20-cv-547-MMH-MCR

    FLAGLER COUNTY SCHOOL
    BOARD,

                Defendant.



                                      ORDER

          THIS CAUSE is before the Court on Defendant’s Motion for Entry of

    Judgment (Dkt. No. 53; Motion) filed on May 11, 2022.           In the Motion,

    Defendant contends that entry of summary judgment by default is warranted

    because Plaintiff did not file a timely, properly supported response to its

    previously filed Motion for Summary Judgment and Supporting Memorandum

    of Law (Dkt. No. 37; Summary Judgment Motion). In doing so, Defendant

    relies in part on the Court’s Local Rules which state that a motion for summary

    judgment is “subject to treatment as unopposed” if no timely response is filed.

    See Local Rule 3.01(c), United States District Court, Middle District of Florida

    (Local Rule(s)). Regardless of Plaintiff’s failure to respond to the Summary

    Judgment Motion, the Court must still determine whether the merits of the
Case 3:20-cv-00547-MMH-MCR Document 55 Filed 06/16/22 Page 2 of 2 PageID 275




    Summary Judgment Motion warrant entry of judgment in its favor. Indeed, it

    is well settled in the Eleventh Circuit that a “district court cannot base the entry

    of summary judgment on the mere fact that the motion was unopposed, but

    rather must consider the merits of the motion.” U.S. v. 5800 S.W. 74th Ave.,

    363 F.3d 1099, 1101-02 (11th Cir. 2004) (quoting Dunlap v. Transam Occidental

    Life Ins., Co., 858 F.2d 629, 632 (11th Cir. 1988)). As such, the Motion is due

    to be denied. The Court will address the merits of the Summary Judgment

    Motion in due course.

            In light of the foregoing, it is

            ORDERED:

            Defendant’s Motion for Entry of Judgment (Dkt. No. 53) is DENIED.

            DONE AND ORDERED in Jacksonville, Florida this 16th day of June,

    2022.




    ja

    Copies to:

    Counsel of Record




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